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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

MAYA PARIZER, et al.,               )
                                    )
                                    )
              Plaintiffs,           )
                                    )
v.                                  )          Civil Action No. 1:24-cv-724 RDA/IDD
                                    )
AJP EDUCATIONAL FOUNDATION,         )
INC., et al.,                       )
                                    )
                                    )
              Defendants.           )
___________________________________ )

                                           ORDER

       This matter is before the Court on WESPAC Foundation’s Consent Motion for Extension

of Time to File Response to Plaintiffs’ Amended Complaint (“Motion”) [Dkt. No. 37]. This

matter can be resolved without oral argument, as such argument would not aid the decisional

process. Upon consideration of the Motion and for good cause shown, it is hereby

       ORDERED that the Motion is GRANTED. Defendant WESPAC Foundation shall file its

response to the Amended Complaint no later than September 12, 2024.

       ENTERED this 14th day of August 2024.



                                                          _________________________
                                                                        /s/
                                                          Ivan D. Davis
                                                          United States Magistrate Judge
Alexandria, Virginia
